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IN THE UNITED STATES DISTRICT:COURT
FOR THE DISTRICT!OF MARYLAND

UNITED STATES OF AMERICA TISFEB 15 PH br 48
Plaintiff "Si aS CEFICE
AF EALTIMORE
vs. * Case No.: ELH-19-0060
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JAMES IAN PICCIRILLI *
Defendant .
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Stipulation Regarding Return of Exhibits

The parties hereby STIPULATE that the below listed physical exhibits be returned to the

custody of and retained by counsel who offered them, pending appeal.

 

 

 

 

 

 

 

 

GOVERNMENT'S DEFENDANT’S EXHIBITS
EXHIBITS
Aul Fell
All Plaintiff? SIE ent’s exhibits All Defendant s Foor
returned: is 1S retumed: /

 

 

Received the above listed exhibits this date: } a }

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Date: February 15, 2019

U.S. District Court (Rev. 5/2000) - Stipulation Regarding Return of Exhibits
